
558 Pa. 374 (1999)
737 A.2d 246
PENNSYLVANIA ASSOCIATION OF RURAL AND SMALL SCHOOLS; Clairton City School District; Northern Tioga School District; Harrisburg School District; Appollo-Ridge School District; Corry Area School District; Duquesne City School District; Everett School District; Glendale School District; Ronald Allender, by his parent and next friend, Arlen R. Allender; Steven M. Azami, by his parent and next friend, Faye M. Azami; Bradley Clark, by his parent and next friends, Henry Clark and Tonia Clark; Tiffany Evans, by her parent and next friend, Marilyn Evans; Jennifer Huzey, by her parent and next friend, Thomas Huzey; Pam Sledge, by her parent and next friend, Roberta Sledge; and Karen Snell, by her parent and next friend, Denise Johnson, Petitioners,
v.
Thomas J. RIDGE, Governor of the Commonwealth of Pennsylvania, Eugene W. Hickok, Secretary of Education, Respondents.
The Association of School Districts in Support of Excellence and Equity, et al, Intervenors.
Supreme Court of Pennsylvania.
Submitted December 16, 1998.
Decided October 1, 1999.
Thomas B. Schmidt, III, Donna L. Fisher, Brian P. Downey, Harrisburg, for Pa Ass'n of Rural and Small Schools, et al.
Susan J. Forney, Sr. Deputy Atty. Gen., Robert A. MacDonnell, Philadelphia, for respondent.
Joseph M. Miller, Harrisburg, for Dept. of Education.
Before FLAHERTY, C.J., and ZAPPALA, CAPPY, CASTILLE, NIGRO, NEWMAN and SAYLOR, JJ.


*375 ORDER
PER CURIAM:
AND NOW, this 1st day October, 1999 the order of the Commonwealth Court is affirmed.
